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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                      )
JOSEPH PAUL ENGLEHARDT                )
                                      )
YVONNE DORA WADE,                     )
                                      )
       Plaintiffs,                    )
                                      )
               v.                     )    No. 1:24-CV-1865-APM
                                      )
UNITED STATES DEPARTMENT              )
OF JUSTICE                            )
                                      )
MERRICK B. GARLAND, in his official )
capacity as Attorney General of the   )
United States of America,             )
                                      )
       Defendants.                    )
____________________________________)


      JOINT STATUS REPORT AND PROPOSED BRIEFING SCHEDULE

       Pursuant to the Court’s July 7, 2024 Minute Order, Plaintiffs and Defendants

provide the following status report and proposed schedule for further proceedings.

       The parties have conferred regarding a schedule for further proceedings in this case.

Because Plaintiffs raise claims under the Administrative Procedure Act and Declaratory

Judgment Act, and there appear to be no genuine issues of material fact in dispute, the

parties agree that the case can be resolved by cross-motions for summary judgment (or to

dismiss). Defendants have committed that as of this filing, DOJ has not made a decision

whether to allocate the proceeds from United States v. British American Tobacco P.L.C.,

No. 1:23-cr-00118-BAH (D.D.C.) (the BAT case) to the Victims of State Sponsored

Terrorism Fund. If and when DOJ does make such a decision, however, it intends to notify

Plaintiffs, through counsel, and to provide an administrative record for that decision. To
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avoid any doubt, Plaintiffs state that they do not believe Defendants’ statement that DOJ

has not made a decision on how to allocate the proceeds of the BAT case changes the nature

of, or basis for, this cause of action. But in the event DOJ does make a decision, and the

decision is to not allocate all of the BAT case proceeds to the Fund, the parties agree to

meet and confer and advise the Court of whether that development (including the filing of

an administrative record) necessitates any alteration to the process or schedule proposed

below.

         Plaintiffs’ principal objective in seeking an expedited briefing schedule is to obtain

a decision from this Court that would, if in Plaintiffs’ favor, require DOJ to direct the BAT

case proceeds for deposit into the Fund in time for those proceeds to be included in the

money available in the Fund for distribution by the Special Master to Plaintiffs in 2025.

Defendants have conveyed to Plaintiffs during the parties’ conferrals that deposits received

by the Fund on or before November 15, 2024 would be available for potential distribution

from the Fund in calendar year 2025. Defendants have filed a joint stipulation containing

a representation that “Defendants will not obligate or expend [the funds paid to the United

States as fines, penalties, or forfeitures in the BAT case] through at least September, 30,

2024, which is the last day of the Government’s fiscal year.” ECF No. 8 at 3. Since that

filing, Defendants have further represented to Plaintiffs that Defendants will not obligate

or expend the BAT case proceeds through at least November 15, 2024. Relying on these

assurances by Defendants, Plaintiffs respectfully request a decision from this Court on the

parties’ cross-motions under the schedule proposed below by November 8, 2024.

         For the reasons stated, the parties respectfully propose the following schedule for

this Court’s consideration:



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          August 2, 2024: Plaintiffs’ deadline to file motion for summary judgment, not

           to exceed 30 pages.

          August 30, 2024: Defendants’ deadline to file a combined dispositive motion

           and response to Plaintiffs’ motion, not to exceed 40 pages.

          September 20, 2024: Plaintiffs’ deadline to file a combined reply and response

           to Defendants’ motion, not to exceed 30 pages.

          October 4, 2024: Defendants’ deadline to file a reply, not to exceed 20 pages.

          November 8, 2024: Date by which a ruling is requested.

Further, the parties agree that if the above schedule is accepted by the Court, Defendants

need not file an Answer in response to Plaintiffs’ Complaint.

        A proposed order is attached.




Dated: July 12, 2024                       Respectfully Submitted,

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